     Case 1:25-cv-10676-BEM                 Document 90-4       Filed 05/07/25   Page 1 of 9


From:             Johnny Sinodis
To:               Trina Realmuto
Subject:          Re: Notice to your Filipino client
Date:             Wednesday, May 7, 2025 11:57:50 AM
Attachments:      image001.png
                  image002.png


No, I haven’t been able to get the document. I have sent several emails and spoke
with a frontline officer last night and this morning. They are now saying that I need to
speak with Tacoma because Tacoma still has docket control. I am LAO being told
that HQ has not confirmed any removal flights at all and that my client is not
scheduled to be removed. It’s the classic bureaucratic bullshit. I’m trying to reach
Tacoma now.

Johnny Sinodis
Partner

Van Der Hout LLP
360 Post St., Suite 800
San Francisco, California 94108

Sent from my iPhone

De: Trina Realmuto <trina@immigrationlitigation.org>
Enviado: Wednesday, May 7, 2025 7:51:04 AM
Para: Johnny Sinodis <jsin@vblaw.com>
Asunto: RE: Notice to your Filipino client

Johnny –

Any luck obtaining the notice your client was asked to sign?

Where is your client detained?

This Libya situation is concerning, and we are assessing next steps.

Thanks, Trina

               Trina Realmuto
               National Immigration Litigation Alliance
               617-819-4447 / trina@immigrationlitigation.org
               www.immigrationlitigation.org
               Facebook: NatlImmLitAlliance / LinkedIn




From: Johnny Sinodis <jsin@vblaw.com>
Sent: Tuesday, May 6, 2025 1:10 PM
To: Trina Realmuto <trina@immigrationlitigation.org>



                                                                                     EXHIBIT D
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Subject: RE: Notice to your Filipino client

Thanks, Trina! My client was asked to sign a one-page document that he says did not
inform him of his right to apply for CAT. ICE did not give him a copy, saying it would
be in his materials upon removal. I am trying to get in touch with someone at the
detention facility right now.

Also, apparently ICE is sending some Mexican nationals to Libya as well. Per my
client, those individuals have removal orders to Mexico and want to return to Mexico.
This is clearly punitive and meant to serve as a deterrent, in my view.

Johnny Sinodis
Partner

New address effective January 1, 2023:
360 Post Street, Suite 800
San Francisco CA 94108

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remotely, and continue to provide all services with little or no delay.




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From: Trina Realmuto <trina@immigrationlitigation.org>
Sent: Tuesday, May 6, 2025 8:50 AM
To: Johnny Sinodis <jsin@vblaw.com>
Subject: Notice to your Filipino client

Johnny - more info below per your text last night. We think the notice is deficient and
want to raise it with opposing counsel but need examples. If you receive notice (as
you should) please can you send the redacted notice so we can raise deficiencies?
 Fwiw, you should also send ICE a copy of the PI order and amendment to the PI
(can’t hurt!).

Certified nationwide class (Dkt. 64 at 23):

All individuals who have a final removal order issued in proceedings under Section
240, 241(a)(5), or 238(b) of the INA (including withholding-only proceedings) whom
DHS has deported or will deport on or after February 18, 2025, to a country (a) not
previously designated as the country or alternative country of removal, and (b) not
identified in writing in the prior proceedings as a country to which the individual would
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be removed.

As to this class, the Court issued the following preliminary injunctive relief:

Prior to removing any [noncitizen] to a third country, i.e., any country not explicitly
provided for on the [noncitizen]’s order of removal, Defendants must:

(1) provide written notice to the [noncitizen] —and the [noncitizen]’s immigration
counsel, if any—of the third country to which the [noncitizen] may be removed, in a
language the [noncitizen] can understand;
(2) provide meaningful opportunity for the [noncitizen] to raise a fear of return for
eligibility for CAT protections;
(3) move to reopen the proceedings if the [noncitizen] demonstrates “reasonable
fear”; and
(4) if the [noncitizen] is not found to have demonstrated “reasonable fear,” provide
meaningful opportunity, and a minimum of 15 days, for that [noncitizen] to seek to
move to reopen immigration proceedings to challenge the potential third-country
removal.

Dkt. 64 at 46-47

Amendment to PI:

In light of the issues raised during the April 28, 2025 hearing, this Court modifies a
portion of its April 18, 2025 preliminary injunction [64]. This modification preserves the
status quo as outlined in this Court's preliminary injunction. See Sec. & Exch.
Comm'n v. Xia, 2024 WL 3447849, at *6-7 (E.D.N.Y. July 9, 2024) (collecting cases
modifying preliminary injunctions pending appeal in order to preserve the status quo).
Defendants have represented to this court that that removals from Guantanamo Bay
to third countries have been executed by the Department of Defense without the
Department of Homeland Security's direction or knowledge, see Dkt 72, and the Court
makes no finding on the accuracy of this assignment of responsibility but, in an
abundance of caution, ORDERS that, prior to removing, or allowing or permitting
another agency to remove, an alien from Guantanamo Bay to a third country,
Defendants must comport with the terms of the April 18, 2025 preliminary
injunction by providing the due-process guarantees set forth in Dkt. 64 at 46-47.
At the April 28, 2025 hearing, the status of the Guantanamo Bay Detention Center
was debated. The Court declines to resolve if transportation to this base is a
deportation to a third country despite the United States' exercise of jurisdiction and
control over the base. Given the position taken by the Government that the
deportation from Guantanamo to third countries was not at the direction, behest or
control of the Department of Homeland Security, a debated issue to be resolved once
preliminary discovery has been conducted, this Court ORDERS that, after taking
custody of an alien, Defendants may not cede custody or control in any manner
that prevents an alien from receiving the due-process guarantees outlined in
the April 18, 2025 preliminary injunction.

Dkt. 86 (Text).
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      Trina Realmuto
      National Immigration Litigation Alliance
      617-819-4447 / trina@immigrationlitigation.org
      www.immigrationlitigation.org
      Facebook: NatlImmLitAlliance / LinkedIn
      Case 1:25-cv-10676-BEM                       Document 90-4                Filed 05/07/25             Page 5 of 9


From:                 Johnny Sinodis
To:                   Trina Realmuto; matt@nwirp.org; Kristin Macleod-Ball
Subject:              FW: URGENT                   -             // Request for Reasonable Fear Interview Pursuant to Nationwide
                      Preliminary Injunction Issued in DVD v. DHS, et al. // Client Just Advised ICE Intends to Remove to Libya &
                      Counsel Not Provided Any Documentation
Date:                 Wednesday, May 7, 2025 12:45:25 PM
Attachments:          image001.png




Johnny Sinodis
Partner

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San Francisco CA 94108

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From: Johnny Sinodis
Sent: Tuesday, May 6, 2025 7:43 PM
To: SanAntonio.Outreach@ice.dhs.gov
Cc: Oona Cahill <ocah@vblaw.com>
Subject: RE: URGENT                -               // Request for Reasonable Fear Interview
Pursuant to Nationwide Preliminary Injunction Issued in DVD v. DHS, et al. // Client Just Advised ICE
Intends to Remove to Libya & Counsel Not Provided Any Documentation

We have now called and spoken with Deportation Officer Bou Agrigan and let him
know that Mr.          fears being removed to Libya. We explained why to Officer
Agrigan, who assured us Mr.           would not be removed. Officer Agrigan also asked
us to call back in the morning to speak with Mr.      ’s assigned deportation officer.
We will call first thing in the morning.

Johnny Sinodis
Partner

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San Francisco CA 94108
      Case 1:25-cv-10676-BEM                      Document 90-4               Filed 05/07/25             Page 6 of 9


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From: Johnny Sinodis
Sent: Tuesday, May 6, 2025 7:18 PM
To: SanAntonio.Outreach@ice.dhs.gov
Cc: Oona Cahill <ocah@vblaw.com>
Subject: RE: URGENT                -               // Request for Reasonable Fear Interview
Pursuant to Nationwide Preliminary Injunction Issued in DVD v. DHS, et al. // Client Just Advised ICE
Intends to Remove to Libya & Counsel Not Provided Any Documentation

Further to the below, there are now news reports that ICE is intending to remove
people to Libya on a military plane as early as tomorrow. If Mr.      is currently
scheduled to be on that flight, he must be pulled off and provided a reasonable fear
interview, in compliance with the court’s nationwide injunction in DVD. I look forward
to hearing from you by email or phone soon—(415) 821-8820.

Johnny Sinodis
Partner

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San Francisco CA 94108

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From: Johnny Sinodis
Sent: Tuesday, May 6, 2025 5:38 PM
     Case 1:25-cv-10676-BEM            Document 90-4        Filed 05/07/25       Page 7 of 9


To: SanAntonio.Outreach@ice.dhs.gov
Cc: Oona Cahill <ocah@vblaw.com>
Subject: URGENT                 -             // Request for Reasonable Fear Interview Pursuant to
Nationwide Preliminary Injunction Issued in DVD v. DHS, et al. // Client Just Advised ICE Intends to
Remove to Libya & Counsel Not Provided Any Documentation

Good Evening,

On behalf of my client, Mr.                ,            , I am writing with an urgent
request that he be scheduled for a reasonable fear interview, which is required as a
result of a nationwide injunction issued in DVD v. DHS, et al., No. 1:25-cv-10676-
BEM (Dist. Ma.). A copy of my executed Form g-28 is attached.

Late last night, Mr.       learned that ICE intends to remove him to Libya even though
he is Filipino and has provided ICE with a valid Filipino passport. ICE did not advise
him that he has a right to request a reasonable fear interview, nor did ICE provide me
with any notice of their intention to remove him to Libya, in clear violation of the
district court’s orders. Mr.      fears being removed to Libya and must therefore be
provided with an interview before any removal occurs.

Attached are the two relevant orders from DVD. They state, in pertinent part:

Certified nationwide class (Dkt. 64 at 23):

All individuals who have a final removal order issued in proceedings under Section
240, 241(a)(5), or 238(b) of the INA (including withholding-only proceedings) whom
DHS has deported or will deport on or after February 18, 2025, to a country (a) not
previously designated as the country or alternative country of removal, and (b) not
identified in writing in the prior proceedings as a country to which the individual would
be removed.

Mr.       is a covered class member because ICE is intending to remove him to a
third country—Libya—that was not identified in writing in his prior removal
proceedings, which were pending before the Tacoma Immigration Court. As to this
class (of which Mr.       is a part), the Court issued the following preliminary
injunctive relief:

Prior to removing any [noncitizen] to a third country, i.e., any country not explicitly
provided for on the [noncitizen]’s order of removal, Defendants must:

(1) provide written notice to the [noncitizen] —and the [noncitizen]’s immigration
counsel, if any—of the third country to which the [noncitizen] may be removed, in a
language the [noncitizen] can understand;
(2) provide meaningful opportunity for the [noncitizen] to raise a fear of return for
eligibility for CAT protections;
(3) move to reopen the proceedings if the [noncitizen] demonstrates “reasonable
fear”; and
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(4) if the [noncitizen] is not found to have demonstrated “reasonable fear,” provide
meaningful opportunity, and a minimum of 15 days, for that [noncitizen] to seek to
move to reopen immigration proceedings to challenge the potential third-country
removal.

Dkt. 64 at 46-47. The Court subsequently ordered:

In light of the issues raised during the April 28, 2025 hearing, this Court modifies a
portion of its April 18, 2025 preliminary injunction [64]. This modification preserves the
status quo as outlined in this Court's preliminary injunction. See Sec. & Exch.
Comm'n v. Xia, 2024 WL 3447849, at *6-7 (E.D.N.Y. July 9, 2024) (collecting cases
modifying preliminary injunctions pending appeal in order to preserve the status quo).
Defendants have represented to this court that that removals from Guantanamo Bay
to third countries have been executed by the Department of Defense without the
Department of Homeland Security's direction or knowledge, see Dkt 72, and the Court
makes no finding on the accuracy of this assignment of responsibility but, in an
abundance of caution, ORDERS that, prior to removing, or allowing or permitting
another agency to remove, an alien from Guantanamo Bay to a third country,
Defendants must comport with the terms of the April 18, 2025 preliminary
injunction by providing the due-process guarantees set forth in Dkt. 64 at 46-47.
At the April 28, 2025 hearing, the status of the Guantanamo Bay Detention Center
was debated. The Court declines to resolve if transportation to this base is a
deportation to a third country despite the United States' exercise of jurisdiction and
control over the base. Given the position taken by the Government that the
deportation from Guantanamo to third countries was not at the direction, behest or
control of the Department of Homeland Security, a debated issue to be resolved once
preliminary discovery has been conducted, this Court ORDERS that, after taking
custody of an alien, Defendants may not cede custody or control in any manner
that prevents an alien from receiving the due-process guarantees outlined in
the April 18, 2025 preliminary injunction.

Dkt. 86 (Text).

Because Mr.         is a class member of the DVD nationwide injunction, ICE must
provide him with a reasonable fear interview before removing him to Libya, a country
that he fears being removed to. Furthermore, in compliance with the court’s order and
the INA’s statutes and regulations, please provide me with any and all documentation
at to ICE’s intention to remove him to Libya instead of the Philippines, a country that
would repatriate him without any issues. Please also ensure that I am present for his
reasonable fear interview, as Mr.        would like to be represented during the
interview. My direct line is (415) 821-8820. I am available to speak at any time.

Johnny

Johnny Sinodis
Partner

New address effective January 1, 2023:
      Case 1:25-cv-10676-BEM                      Document 90-4               Filed 05/07/25             Page 9 of 9


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